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IN THE UNITED STATES DISTRICT COURTS. ¢ DIST

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FOR THE DISTRICT OF MARYLAND © 9! 107 OF t

  

UNITED STATES OF AMERICA 207! JUN TI P Ii2: 03
BRIAN MARK LEMLEY, JR. Criminal Action No. TDC-20-033
TDC-21-0205
Defendant.

 

REGULAR SENTENCING ORDER

(1) On or before Tuesday, July 20, 2021 (not more than 40 days from the date of this order),
the Probation Officer shall provide the initial draft of the presentence report to counsel for the
Defendant for review with the Defendant. If the Defendant is in pretrial detention, defense
counsel may not provide a copy of the recommendations section of the presentence report to the
Defendant in advance of meeting to review the presentence report, and may not leave the
recommendations section of the presentence report with the Defendant once the review has taken
place. The Probation Officer shall also provide the initial draft of the presentence report to
counsel for the Government.

(2) On or before Tuesday, August 03, 2021 (not less than 14 days from date in paragraph 1),
counsel shall submit, in writing, to the Probation Officer and opposing counsel, any objections to
any material information, sentencing classifications, advisory sentencing guideline ranges, or
policy statements contained in or omitted from the report.

(3) After receiving counsel’s objections, the Probation Officer shall conduct any
necessary further investigation and may require counsel for both parties to meet with the
Probation Officer to discuss unresolved factual and legal issues. The Probation Officer shall

make any revisions to the presentence report deemed proper, and, in the event that any objections

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made by counsel remain unresolved, the Probation Officer shall prepare an addendum setting
forth those objections and any comment thereon.

(4) On or before Friday, August 13, 2021 (not less than 11 days from date in paragraph 2),
the Probation Officer shall file the report (and any revisions and addendum thereto) through
CM/ECF.

(5) An evidentiary hearing is set for Monday, October 25, 2021 at 9:30 a.m.

(6) If counsel for either party intends to call any witnesses at the sentencing hearing,
counsel shall submit, in writing, to the Court and opposing counsel, on or before

Thursday, October 14, 2021 (not less than 14 days before sentencing), a statement containing (a) the
names of the witnesses, (b) a synopsis of their anticipated testimony, and (c) an estimate of the
anticipated length of the hearing.

(7) As to sentencing memoranda, opening briefs are due on Monday, September 27,
2021. Responsive briefs are due Tuesday, October 12, 2021. Briefs are limited to no more than
50 pages combined per party. Sentencing memoranda shall be filed with the Clerk and a copy
delivered to chambers and to the Probation Officer. Sentencing memoranda are not sealed
documents. If the memoranda or attachments contain sensitive material, they should be filed
under seal and accompanied by a motion to seal.

(8) Any motions relating to sentencing, including motions for a continuance, shall

be filed and delivered to chambers on or before Thursday, October 14, 2021 (14 days before

 

sentencing). No motions for a continuance filed after this deadline will be granted absent
extraordinary circumstances. Any responses to motions shall be filed on or before Thursday,

October 21, 2021 (7 days before sentencing). No reply memoranda shall be filed.

 

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(9) If the Government intends to seek restitution, a memorandum requesting
restitution and all supporting documentation shall be filed on or before Thursday, October 14,
2021 (not less than 14 days before sentencing). Failure to provide the restitution information or an
explanation for why the restitution information is not yet ascertainable by this date may result in
an order to show cause why the information could not have been timely provided and may result
in the Court denying or delaying restitution until after a hearing not to exceed 90 days after
sentencing.

(10) Any other written materials relating to sentencing, including but not limited to
letters or statements by the defendant, family members, victims, or others, shall be delivered to
chambers no later than Thursday, October 21, 2021 (7 days before sentencing).

(11) If either party intends to seek a change in the defendant’s release status at
sentencing, including requiring the defendant to be taken into custody immediately following
sentencing, that party shall inform the Court, opposing counsel and the Pretrial Services Officer
on or before Monday, October 25, 2021 (3 days before sentencing). Failure to do so may result in
denial of the requested change.

(12) Sentencing shall be on Thursday, October 28, 2021 at 2:00 p.m.

(13) The presentence report, any revisions, and any proposed findings made by the
Probation Officer in the addendum to the report shall constitute the tentative findings of the
Court under section 6A1.3 of the sentencing guidelines. In resolving disputed issues of fact, the
Court may consider any reliable information presented by the Probation Officer, the Defendant,
or the Government, and the Court may issue its own tentative or final findings at any time before

or during the sentencing hearing.

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(14) Nothing in this Order requires the disclosure of any portions of the presentence

report that are not disclosable under Federal Rules of Criminal Procedure 32.

 
 

June 10, 2021
Date

 
      

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United States District J

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